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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


  IN RE: TELEXFREE SECURITIES                    MDL No. 4:14-md-02566-NMG
  LITIGATION
                                                 Judge Nathaniel M. Gorton
  This Document Relates To: All Actions



                    JOINT STATUS REPORT REGARDING
                   AUGUST 8, 2024 STATUS CONFERENCE

      Defendant ProPay, Inc. (“ProPay”) and Plaintiffs (with ProPay, the “Parties”)

respectfully submit the following Joint Status Report Regarding the status

conference scheduled for August 8, 2024 at 11:00 a.m. Eastern:

      1.     Since the May 16, 2024 Case Management Conference held in this

matter, the Parties have been engaged in a meet and confer process concerning the

potential Rule 30(b)(6) Deposition of ProPay.

      2.     On June 21, 2024, the Parties informed the Court that they had

successfully resolved most open issues but requested a status conference to seek

guidance from the Court on their remaining areas of disagreement. Dkt. 2076.

      3.     The Court subsequently set a status conference for August 1, 2024, Dkt.

2079, which was rescheduled for August 8, 2024, Dkt. 2086.

      4.     The Parties held additional meet and confer sessions on August 6, 2024

and August 7, 2024 in advance of the status conference. During these sessions, the

Parties were able to reach an agreement in principle on their remaining areas of

disagreement. The Parties are working in good faith to promptly finalize the
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resolution of their discovery dispute and do not anticipate they will need Court

assistance to do so.

      5.     Accordingly, the Parties do not believe the status conference scheduled

for August 8, 2024 is necessary, but they will appear for the conference if the Court

wishes to proceed.

      6.     The Parties otherwise reserve their rights as to all underlying matters

not subject to the motion before the court.

Dated: August 7, 2024.                  Respectfully submitted,

                                        /s/ J. Andrew Pratt
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                     LOCAL RULE 37.1 CERTIFICATION

      I hereby certify that counsel for Defendant ProPay and Plaintiff concur in the

substance of this Motion.

      This 7th day of August, 2024.

                                            /s/ J. Andrew Pratt
                                            J. Andrew Pratt
                                            Counsel for Defendant ProPay, Inc.
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                            CERTIFICATE OF SERVICE

       I CERTIFY that a copy hereof was filed in the CM/ECF which in turn sends

electronic notice of filing to all counsel of record by notice of electronic filing.

       This 7th day of August, 2024.

                                                  /s/ J. Andrew Pratt
                                                  J. Andrew Pratt
                                                  Counsel for Defendant ProPay, Inc.
